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                          UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                Martinsburg Division

ROBERT L. MILLS II,                           )
individually and on behalf of all             )
others similarly situated,                    )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Civil No. 3:17-cv-48
                                              )
INFOMART, INC.                                )
                                              )
                       Defendant.             )
                                              )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Robert

L. Mills, II, et al and Defendant Infomart, Inc., stipulate to dismissal with prejudice, each party

to pay its own costs and attorneys fees. Therefore dismissal without a court order is proper.

       Respectfully submitted this 24th day of October, 2017.

By:            /s/                                    By:            /s/
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